              Case 23-11834-CTG         Doc 21-4      Filed 12/06/23     Page 1 of 12




                                 CERTIFICATE OF SERVICE
       I, Ronald S. Gellert, Esquire, certify that on December 6, 2023, I caused a true and correct

copy of the Motion to Authorize Joint Administration of Cases Pursuant to Federal Rule of

Bankruptcy Procedures 1015(b) to be electronically filed and served via CM/ECF to all parties

requesting electronic service in this case and upon the parties on the attached service list via first

class mail.



                                               /s/ Ronald S. Gellert
                                               Ronald S. Gellert (DE 4259)
Dated: December 6, 2023
                  Case 23-11834-CTG        Doc 21-4   Filed 12/06/23   Page 2 of 12




               CALDERON, JOSE                                   HELIOS ENERGY HOLDINGS
         ATTN: DAVID A. CHRISTOFFEL                              251 LITTLE FALLS DRIVE
    C/O: CHRISTOFFEL LAW GROUP, P.L.L.C.                          WILMINGTON, DE 19808
       1506 EAST WINDING WAY DRIVE
           BUILDING 108, SUITE 506
           FRIENDSWOOD, TX 77546


                 PNC BANK                              UNITED STATES FIRE INSURANCE COMPANY
          2801 E CAMELBACK RD                                   305 MADISON AVENUE
                 SUITE 400                                           PO BOX 1973
          PHOENIX, AZ 85016-4363                                MORRISTOWN, NJ 07960



             1630 APACHE, LLC                                      COX BUSINESS - NCE
              6040 E MAIN ST                                         P.O. BOX 53249
                   # 466                                          PHOENIX, AZ 85072-3249
              MESA, AZ 85205



                  SRP                                       KEEPERS COMMERCIAL CLEANING
              PO BOX 80062                                     2324 E. UNIVERSITY DRIVE
         PRESCOTT, AZ 86304-8062                                     MESA, AZ 85213




PROSTAR SERVICES ARIZONA INC. DBA PARKS                RELATED SERVICES, INC. DBA JANI-KING OF
                COFFEE                                               PHOENIX.
             PO BOX 113000                                         PO BOX 51526
       CARROLLTON, TX 75011-3000                             LOS ANGELES, CA 90051-5826



               ALLY AUTO                              BEXAR COUNTY TAX ASSESSOR - COLLECTOR
             PO BOX 9001948                                        PO BOX 2903
           LOUISVILLE, KY 40290                              SAN ANTONIO, TX 78299-2903




  EL PASO CENTRAL APPRAISAL DISTRICT                        HIDALGO COUNTY TAX ASSESSOR-
          5801 TROWBRIDGE DR                                         COLLECTOR
          EL PASO, TX 79925-3346                                     PO BOX 3337
                                                                 EDINBURG, TX 78540
             Case 23-11834-CTG   Doc 21-4   Filed 12/06/23   Page 3 of 12




          JESPARZA INC                                 12 STONES ENTERPRISES
         1401 MONTANA                                      6933 OLSON LANE
               #B2                                       PASADENA, TX 77505
        EL PASO, TX 79902



     1547 CSR - MCALLEN LP                     3GS LLC DBA LONE STAR SHREDDING &
          PO BOX 200855                                DOCUMENT STORAGE
     DALLAS, TX 75320-0855                            1970 W. EXPRESSWAY 83
                                                        MERCEDES, TX 78570



    84 LOOP 410 REALTY LTD                             A FAMILY STORAGE LLC
       C/O TRANSWESTERN                                 9025 E. CAMINO ABRIL
    84 NE LOOP 410, SUITE 149                             TUCSON, AZ 85747
     SAN ANTONIO, TX 78216




       A+ AIR & AEROSEAL                     A3 SMART HOME LP DBA AAA SMART HOME
           3443 N ALBA                                   PO BOX 841507
         MESA, AZ 85213                               DALLAS, TX 75284-1507



     A4 CONSTRUCTION LLC                                ACCENT PLUMBING INC
       5900 BALCONES DR                                2721 E INDIAN SCHOOL RD
            SUITE 100                                      PHOENIX, AZ 85016
        AUSTIN, TX 78731



ACCURATE SIGNS & ENGRAVING, INC                            AEROSEAL, LLC
     8837 N. CENTRAL AVE                                 225 BYERS RD STE 1
       PHOENIX, AZ 85020                                MIAMISBURG, OH 45342




      ALAMO AUTO SUPPLY                                     AMERIGAS
      5923 GATEWAY WEST                                    PO BOX 660288
        EL PASO, TX 79925                               DALLAS, TX 75266-0288
                Case 23-11834-CTG   Doc 21-4   Filed 12/06/23   Page 4 of 12




ATLANTIC SPECIALTY INSURANCE COMPANY                   ATLAS CPAS & ADVISORS, PLLC
        605 HIGHWAY 169 NORTH                             16841 NORTH 31ST AVE
               SUITE 800                                         SUITE 102
          PLYMOUTH, MN 55441                                PHOENIX, AZ 85053



         AXEL LOGISTICS, LLC                   BARRAZA, MARTHA; RAMIEREZ, JOSE AND HERRERA,
            PO BOX 896456                                          MARIA
       CHARLOTTE, NC 28289-6456                             ATTN: JUAN URAGA
                                                          C/O: URAGA LAW OFFICE
                                                         4171 N. MESA ST. STE. B-201
                                                              EL PASO, TX 79902


   BARRIER INSULATION & ENERGY LLC                  BENCHMARK INSURANCE COMPANY
       6344 W ORANGEWOOD AVE                                 PO BOX 413156
                STE 1A                                SALT LAKE CITY, UT 84141-3156
          GLENDALE, AZ 85301



           BLU BANYAN INC                             BLUE CROSS BLUE SHIELD OF AZ
       1569 SOLANO AVE. STE 645                               PO BOX 81049
          BERKELEY, CA 94707                                PHOENIX, AZ 85069




          BRIGGS EQUIPMENT                                 C & R ARIZPE ROOFING
            PO BOX 841272                                 1264 CALLE SAN MIGUEL
         DALLAS, TX 75284-1272                             SAN BENITO, TX 78586



             CALDERON, JOSE
       ATTN: DAVID A. CHRISTOFFEL                             CARRIERCOM LP
  C/O: CHRISTOFFEL LAW GROUP, P.L.L.C.                     200 S 10TH ST SUITE 708
     1506 EAST WINDING WAY DRIVE                             MCALLEN, TX 78501
         BUILDING 108, SUITE 506
         FRIENDSWOOD, TX 77546


  CBT PARTNERS LTD DBA JANI-KING SAN                     CHULA VISTA CONST LLC
                ANTONIO                               123 OLD PORT ISABEL RD STE B6
     1008 CENTRAL PARKWAY SOUTH                           BROWNSVILLE, TX 78521
          SAN ANTONIO, TX 78232
                 Case 23-11834-CTG   Doc 21-4   Filed 12/06/23    Page 5 of 12




     CIRRO ENERGY DBA USR ELECTRIC                    CITY ELECTRIC SUPPLY COMPANY
              P.O. BOX 2229                                 400 S. RECORD STEET
         HOUSTON, TX 77252-2229                               DALLAS, TX 75202




        CITY OF APACHE JUNCTION                                  CITY OF MCALLEN
        300 E. SUPERSTITION BLVD.                                  311 N 15TH ST
        APACHE JUNCTION, AZ 85119                                MCALLEN, TX 78501




        CLIFTONLARSONALLEN LLP                  CONSOLIDATED ELECTRICAL DISTRIBUTORS -
          20 EAST THOMAS ROAD                               GREENTECH EP
                SUITE 2300                                  PO BOX 207115
             PHOENIX, AZ 85012                           DALLAS, TX 75320-7115



 CONSOLIDATED ELECTRICAL DISTRIBUTORS -         CONSOLIDATED ELECTRICAL DISTRIBUTORS -
          GREENTECH HOUSTON                                  GREENTECH RGV
         500 MORRIS OLIVER WAY                         5201 GEORGE MCVAY DRVIE
                SUITE 300                                  MCALLEN, TX 78503
              KATY, TX 77494


CONSOLIDATED ELECTRICAL DISTRIBUTORS PHX                    CONTERRA NETWORKS
              PO BOX 207072                                    PO BOX 281357
          DALLAS, TX 75320-7072                              ATLANTA, GA 30384




CORELOGIC, INC. DBA CORELOGIC SOLUTIONS,                 COSIMO CONSTRUCTION LLC
             LLC (SMLLC, FEIN                              2472 LEXINGTON PLACE
                XX-XXXXXXX)                                BROWNSVILLE, TX 78520
         40 PACIFICA, SUITE 900
             IRVINE, CA 92618


        COX BUSINESS - PHX/TUCSON                 CRATAEGUS, LLC. DBA JANI-KING OF NEW
              PO BOX 53249                                      MEXICO
          PHOENIX, AZ 85072-3249                        2430 MIDTOWN PLACE NE
                                                                  STE B
                                                        ALBUQUERQUE, NM 87107
                 Case 23-11834-CTG    Doc 21-4   Filed 12/06/23   Page 6 of 12




CREDIT CONNECTION, LLC. DBA CREDIT BUREAU                      CRUZ, GONZALO
                 CONNECTION                                    6705 STONE OAK
         575 E. LOCUST AVE. STE 103                         BROWNSVILLE, TX 78521
              FRESNO, CA 93720



         CYBERTECH DESIGNS, LLC                  DETRITUS LLC DBA DUMPSTER RENTAL DOGS
           305 S ROCKFORD DR.                                 525 TELFAIR RD
             TEMPE, AZ 85281                               SAVANNAH, GA 31415




            DOMINGUEZ, MARILY                       DURASERV CORP DBA SOUTHERN DOCK
  C/O: LAW OFFICE OF GALLERSON, HOLDER,                        PRODUCTS
          LAWRENCE & SEYMORE                                  PO BOX 840602
               P.O. BOX 7217                              DALLAS, TX 75284-0602
             LONDON, KY 40742


       EL PASO ELECTRIC (UTILITIES)                                EL PASO WATER
             P.O. BOX 650801                                         P.O BOX 511
           DALLAS, TX 75265-0801                                  EL PASO, TX 79961




        ELITE ENTERPRISES USA LLC                       ELLIOTT ELECTRIC SUPPLY - HOU
              2515 OFELIA AVE                                3700 PASADENA FWY
          BROWNSVILLE, TX 78526                              PASADENA, TX 77503




      ELLIOTT ELECTRIC SUPPLY - PHX                     ELLIOTT ELECTRIC SUPPLY - RGV
            121 S 39TH AVE #100                               1701 N JACKSON RD.
            PHOENIX, AZ 85009                                 MCALLEN, TX 78501




       ELLIOTT ELECTRIC SUPPLY - SA                   ELLIOTT ELECTRIC SUPPLY- TUCSON
             9707 BROADWAY                                3130 S. DODGE BOULEVARD
          SAN ANTONIO, TX 78217                                TUCSON, AZ 85713
              Case 23-11834-CTG   Doc 21-4   Filed 12/06/23    Page 7 of 12




  ENERBANK CONTRACTOR SUPPORT                                 ENERGYSAGE, INC.
      650 S MAIN STREET 1000                                    PO BOX 960508
     SALT LAKE CITY, UT 84101                                     MA 02196




         EP CORNERSTONE                      ESCARENO, JESUS; GARCIA, ARACELY AND SALINAS,
          10101 ALCAN ST                                        MIGDALIA
         EL PASO, TX 79924                               ATTN: FABIAN GUERRERO
                                                  C/O: LAW OFFICE OF FABIAN GUERRERO
                                                        3900 WEST EXPRESSWAY 83
                                                            MCALLEN, TX 78501


             FEDEX                                    FLEXIBLE BENEFIT SYSTEMS
           PO BOX 7221                                    5521 MAYFIELD RD.
      PASADENA, CA 91109-7321                            LYNDHURST, OH 44124




         FRONIUS USA LLC                                      GLYDE SOLAR LLC
        6797 FRONIUS DRIVE                                        525 S 850 E
         PORTAGE, IN 46368                                         SUITE 5
                                                                LEHI, UT 84043



GREAT AMERICAN INSURANCE COMPANY                     GREEN PLANET SERVICES, LLC
          301 E FOURTH ST                               145 CANTEROS DRIVE
        CINCINNATI, OH 45202                              OLMITO, TX 78575




      GREENTECH ENERGY LLC                                 HACI SERVICE, LLC
         1311 YEADON RD                                2108 W. SHANGRI-LA ROAD
       CHESAPEAKE, VA 23324                                PHOENIX, AZ 85029




     HARDACKER ROOFING LLC                       HOME DEPOT CREDIT SERVICES (HDCS)
       1516 E GROVERS AVE                                 PO BOX 9001043
        PHOENIX, AZ 85022                              LOUISVILLE, KY 40290
                 Case 23-11834-CTG   Doc 21-4   Filed 12/06/23    Page 8 of 12




      HUDSON ENERGY SERVICES LLC                             HUNT INTERESTS, INC
             PO BOX 731137                                17806 W. COPPER LAKES DR.
           DALLAS, TX 75373                                 HOUSTON, TX, TX 77095




          IRA LOBO SOLAR LLC                                     J & H RENTALS, LLC
            2438 MONARCH DR                                          PO BOX 1405
            STE A-300 BOX 121                                     LAREDO, TX 78040
            LAREDO, TX 78045



         JOE OCHOA ROOFING, INC                   JOHNSON CONTROLS FIRE PROTECTION LP
          12939 FOLKCREST WAY                            5757 N GREEN BAY AVE
           STAFFORD, TX 77477                             MILWAUKEE, WI 53209




               KANDJI, INC.                                        LAWN RANGER
       101 W. BROADWAY SUITE 1440                                11717 TONY TEJEDA
           SAN DIEGO, CA 92101                                    EL PASO, TX 79936




       LIBERTY MUTUAL INSURANCE                   MAKING YARDS GREEN AGAIN DBA MYGA
               PO BOX 188025                               741 N ROOSEVELT ST
          FAIRFIELD, OH 45018-8025                       PEARSALL, TX 78061-4418




MALTRE CONSULTING & TECHNOLOGY INC. DBA                            MCFALL
               ENTARTES                                      ATTN: DEREK REYNA
             PO BOX 219254                                 1201 EAST VAN BUREN ST
           HOUSTON, TX 77218                               BROWNSVILLE, TX 78520



 MIDWAY AUTOS, LLC DBA VIVA CHEVROLET                MT BINS LLC DBA SMASH MY TRASH
            5915 MONTANA                                   6112 N MESA ST. #6055
           EL PASO, TX 79925                                 EL PASO, TX 79912
                Case 23-11834-CTG    Doc 21-4   Filed 12/06/23    Page 9 of 12




     MURILLO CONSTRUCTION LLC                       OCCUPATIONAL HEALTH CENTERS OF
        487 SAN EUGENIO ST                                  SOUTHWEST, P.A.
       BROWNSVILLE, TX 78521                                  PO BOX 9005
                                                         ADDISON, TX 75001-9005



ORACLE NETSUITE (ORACLE AMERICA, INC.)          PITNEY BOWES BANK INC. PURCHASE POWER
          2300 ORACLE WAY                                   P.O. BOX 981026
           AUSTIN, TX 78741                              BOSTON, MA 02298-1026




       PLANET ENTERPRISES LLC                            POWER PRO SOLUTIONS, LLC
          1401 MONTANA AVE                                 479 COLDRIDGE VALLEY
           EL PASO, TX 79902                                  EL PASO, TX 79928




             PRO PRINT AZ                                PROFAMILY CONSTRUCTION
          4415 S 32ND STREET                               2618 CITATION STREET
          PHOENIX, AZ 85040                                 EDINBURG, TX 78542




     PUEBLO HOME SOLUTIONS LLC                           RAINBOW PROPERTIES LLC
      3120 E SERRITOS RANCH RD                  C/O: LAW OFFICE OF SANFOD J. GERMAINE, P.C.
         HEREFORD, AZ 85615                             ATTN: SANFORD J. GERMAINE
                                                          4634 NORTH 44TH STREET
                                                             PHOENIX, AZ 85018


        REIMAGINE ROOFING LLC                    RELATED SERVICES, INC. DBA JANI-KING OF
     1100 E WASHINGTON ST, STE 200                             PHOENIX.
            PHOENIX, AZ 85034                                PO BOX 51526
                                                       LOS ANGELES, CA 90051-5826



          RELIANT ENERGY                                         REPUBLIC SERVICES
            P.O. BOX 3765                                           PO BOX 78829
        HOUSTON, TX 77253-3765                                    PHOENIX, AZ 85062
                 Case 23-11834-CTG    Doc 21-4   Filed 12/06/23   Page 10 of 12




            REVELES, POMPOSO                                   RINGCENTRAL INC
          ATTN: R.W. ARMSTRONG                                   PO BOX 734232
        C/O: THE ARMSTRONG FIRM                               DALLAS, TX 75373-4232
       2600 OLD ALICE ROAD SUITE A
          BROWNSVILLE, TX 78521


         ROADSHOW DISTRIBUTION                   ROCKET FRANCHISING, INC DBA JANI-KING OF
            3131 MEMORIAL CT                                     HOUSTON
            HOUSTON, TX 77007                              4535 SUNBELT DRIVE
                                                            ADDISON, TX 75001



       ROLLINS, INC. DBA ORKIN, LLC                             ROQUE, ERMIDA
              PO BOX 740300                              ATTN: STEPHEN BRICE BURRIS
          CINCINNATI, OH 45274                         C/O: FEARS NACHAWATI LAW FIRM
                                                               5473 BLAIR ROAD
                                                               DALLAS, TX 75231


                SATIC, INC.                                         SEO FOR JOBS
          1500 CLARK FORK LANE                                    JUNGFERNSTIEG 47
            MISSOULA, MT 59808                                     HAMBURG, 20354
                                                                     GERMANY



       SIMPLE SOLAR INDUSTRIES, LLC                        SMART ENERGY DIRECT LLC
          1001 S DAIRY ASHFORD RD                             1371 RUBY SKY CT.
             HOUSTON, TX 77077                               HENDERSON, NV 89052




         SOLAR DISTRIBUTORS LLC                             SOLAR MADE SIMPLE, LLC
               PO BOX 1040                                  10817 NOTUS LN SUITE E102
           SANTA ROSA, TX 78593                                  EL PASO, TX 79935




                SOLIS, HECTOR                            SPARKLETTS & SIERRA SPRINGS
         ATTN: ROBERT D. DABAGHIAN                              PO BOX 660579
C/O: THE LAW OFFICE OF ROBERT D. DABAGHIAN                   DALLAS, TX 75266-057
       8207 CALLAGHAN ROAD, SUITE 250
             SAN ANTONIO, TX 78230
            Case 23-11834-CTG   Doc 21-4   Filed 12/06/23    Page 11 of 12




      SPECTRUM BUSINESS                    SUN CITY SUNSHINE POWER LLC DBA SUNSHINE
         P.O. BOX 77169                                   CITY POWER
    CHARLOTTE, NC 28271-7169                                COMPANY
                                                         500 N. OREGON
                                                        EL PASO, TX 79901


     SUNBELT RENTALS, INC.                              SUNFORCE SOLAR LLC
        P.O. BOX 409211                                  3915 SAN YSIDRO RD
     ATLANTA, GA 30384-9211                             LAS CRUCES, NM 88007




    SUNPOWER TECHNOLOGIES                               SUNSPEC ALLIANCE
       12202 SAINT LUCIA                         4040 MOORPARK AVENUE, SUITE#110
        EL PASO, TX 79936                                SAN JOSE, CA 95117




     SUNSTATE EQUIPMENT                                         SUNTEC LLC
        PO BOX 208439                                       2601 E. YANDELL DR
       DALLAS, TX 75320                                           SUITE 101
                                                             EL PASO, TX 79903



     TBBK DIRECT LEASING                                TEXAS GAS SERVICE
         PO BOX 140733                                    PO BOX 219913
     ORLANDO, FL 32814-0733                          KANSAS CITY, MO 64121-9913




           THE PEP BOYS                           THE RICE-TINSLEY CORPORATION
PEP BOYS REMITTANCE DEPARTMENT                          8129 SIGNET STREET
         PO BOX 8500-50446                              HOUSTON, TX 77029
      PHILADELPHIA, PA 19178



      TURNKEY LENDER INC.                            ULTRA ROOFING SOLUTIONS
    901 S MOPAC EXPRESSWAY                             5750 W ROOSEVELT ST
           BUILDING 1                                    PHOENIX, AZ 85043
            SUITE #310
         AUSTIN, TX 78746
               Case 23-11834-CTG   Doc 21-4   Filed 12/06/23   Page 12 of 12




   UNIFIRST HOLDINGS, INC - TUCSON               UNITED RENTALS (NORTH AMERICA) INC
            PO BOX 650481                                    FILE 51122
         DALLAS, TX 75265-0481                        LOS ANGELES, CA 90074-1122




UNITED STATES FIRE INSURANCE COMPANY                            VACO, LLC
         305 MADISON AVENUE                             5501 VIRGINIA WAY STE 120
              PO BOX 1973                                 BRENTWOOD, TN 37027
         MORRISTOWN, NJ 07960



         VERIZON WIRELESS                            WEISBART SPRINGER HAYES, LLP
           P.O. BOX 660108                                212 LAVACA ST #200
        DALLAS, TX 75266-0108                              AUSTIN, TX 78701




      WESTERN B SOUTH TX, LLC                  WESTERN FLEET SERVICES, INC DBA DESERT
    602 WEST OFFICE CENTER DRIVE                           HAVEN TRAILER
               STE 200                                      3800 SHELL ST
     FORT WASHINGTON, PA 19034                            EL PASO, TX 79925



   WHELAN CONSTRUCTION LAW, P.A.                            ZERO ENERGY LLC
    2950 HALCYON LANE, SUITE 707                             5849 KINGS XING
       JACKSONVILLE, FL 32223                             BROWNSVILLE, TX 78526




          ZIWA HOLDINGS LTD
       3521 OLD PORT ISABEL RD.
        BROWNSVILLE, TX 78526
